405 F.2d 1211
    UNITED STATES of America, Appellee,v.John SOLON, Appellant.
    No. 208, Docket 32581.
    United States Court of Appeals Second Circuit.
    Argued Dec. 3, 1968.Decided Dec. 3, 1968.
    
      Stuart C. Goldberg, Asst. U.S. Atty.  (Joseph P. Hoey, U.S. Atty., for the Eastern District of New York, on the brief), for appellee.
      A. J. Jaffe, New York City (Henry G. Singer, Brooklyn, N.Y., on the brief), for appellant.
      Before LUMBARD, Chief Judge, FRIENDLY, Circuit Judge, and RYAN, District Judge.1
      PER CURIAM:
    
    
      1
      We affirm in open court the order of the district court which denied John Solon's motion to vacate the judgment entered against him in 1959 (on which he had been making payments pursuant to a 1962 agreement), to absolve him from any further payments and obtain the return of money already paid, and to vacate the subpoena to appear and be examined as a judgment debtor, for the reasons set forth in Judge Weinstein's opinion reported at 294 F.Supp. 880.
    
    
      
        1
         Sitting by designation
      
    
    